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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :

                                             :      Cr. No. 21-738 (BAH)


MICHAEL OLIVERAS,                            :

               Defendant.                    :



                         MOTION TO WITHDRAW AS COUNSEL

       On April 11, 2023, counsel William L. Shipley filed a Notice of Appearance of Counsel

on behalf of Defendant Michael Oliveras. Accordingly, it is respectfully requested that I (and the

Office of the Federal Public Defender for the District of New Jersey) be permitted to withdraw as

counsel in this case.

                                                    Respectfully submitted,

                                                    /s/ Lori M. Koch
                                                    Assistant Federal Public Defender
                                                    District of New Jersey
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Date: April 19, 2023
